     Case 2:96-cr-00190-JAM-GGH Document 391 Filed 08/01/19 Page 1 of 3


 1    HEATHER E. WILLIAMS, #122664
      Federal Defender
 2    DAVID M. PORTER, # 127024
      Assistant Federal Defender
 3    801 I Street, 3rd Floor
      Sacramento, CA 95814
 4    Telephone: (916) 498-5700
      Fax: (916) 498-5710
 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                   )   Case No. S 96-190 JAM 2
                                                  )
11                        Plaintiff,              )   Unopposed Request to Extend Deadline
                                                  )   for Filing a Supplement or Other
12    v.                                          )   Appropriate Response; Order
                                                  )
13    TROY DONAHUE BARRON,                        )
                                                  )
14                        Defendant.              )   Judge: Honorable JOHN A. MENDEZ
                                                  )
15                                                )
16           On May 22, 2019, this Court issued an order directing the Office of the Federal
17    Defender to file a supplement or other appropriate response to defendant’s pro se motion
18    to reduce sentence under the First Step Act no later than June 19, 2019. For the reasons
19    set forth below, counsel requests an extension of the deadline to October 31, 2019.
20           The undersigned is the attorney responsible for assisting defendants convicted in
21    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
22    the First Step Act. Defendant Troy Donahue Barron was one of three co-defendants
23    charged in 1996 in a 15-count indictment. Following an eight-day trial, the defendants
24    were convicted and Troy Barron was sentenced to life imprisonment. The government
25    and defense are taking a coordinated approach to resolving, where possible, reductions of
26    sentences under the First Step Act, and it has taken longer than anticipated for the parties
27    to address other cases with earlier priority than Mr. Barron’s.

28    ///

       Unopposed Request to Extend Deadline for        -1-          United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                       Civ. S 96-190 JAM 2
       R          Od
     Case 2:96-cr-00190-JAM-GGH Document 391 Filed 08/01/19 Page 2 of 3


 1           Accordingly, the undersigned respectfully requests an extension until October 31,
 2    2019, to file a supplement or other appropriate response to defendant’s pro se motion
 3    filed January 28, 2019. Counsel for the government, Assistant U.S. Attorney Jason Hitt,
 4    graciously indicated he has no objection to this request. A proposed order is lodged
 5    herewith.
 6    Date: July 31, 2019
 7                                                Respectfully submitted,
 8                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 9
10                                                /s/ David M. Porter
                                                  DAVID M. PORTER
11                                                Assistant Federal Defender
12                                                Attorneys for Defendant
                                                  TROY DONAHUE BARRON
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

       Unopposed Request to Extend Deadline for     -2-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       R          Od
     Case 2:96-cr-00190-JAM-GGH Document 391 Filed 08/01/19 Page 3 of 3


 1                                                ORDER
 2           Pursuant to defendant’s unopposed request, and good cause appearing therefor, the
 3    Office of the Federal Defender is directed to file a supplement or other appropriate
 4    response on or before October 31, 2019.
 5
 6           IT IS SO ORDERED.
 7    Dated: August 1, 2019                           /s/ John A. Mendez
                                                      HONORABLE JOHN A. MENDEZ
 8                                                    United States District Court Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

       Unopposed Request to Extend Deadline for     -3-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       R          Od
